            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:17 cr 153-2


UNITED STATES OF AMERICA,           )
                                    )
     v.                             )
                                    )                                    ORDER
CECILIA BELLE BRADLEY,              )
                                    )
               Defendant.           )
____________________________________)

       Pending before the Court is Defendant’s Motion to File Supplemental Briefing and Motion

to Seal [# 27]. On March 12, 2018, the Court allowed Defendant to join in her co-defendant’s

motion to suppress. Defendant now asks the Court for leave to file supplemental briefing and to

have the brief and exhibits filed under seal.

       The presumption in this Court is that filings be unsealed. Defendant’s exhibits, however,

will contain sensitive information.

       Therefore, the Court GRANTS the motion in part and DENIES the motion in part [# 27].

Defendant has leave to file a supplemental brief. The brief shall not be sealed. For good cause,

Defendant’s exhibits shall be SEALED.



                                                Signed: March 12, 2018




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